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 7   ADMINISTRATIVE CORPORATION and BOARD OF TRUSTEES
     FOR THE CARPENTERS SOUTHWEST TRUSTS
 8

 9                            UNITED STATES DISTRICT COURT
10                                      DISTRICT OF ARIZONA
11
12   HKB, INC., an Arizona co_rnQration,           2: 16-cv-03799-DJH
     doing_ business as SOUTHWEST
13   INDUSTRIAL RIGGING,
                                                   DEFENDANTS' OPPOSITION TO
14                        Plaintiff,
                                                   PLAINTIFF'S AMENDED MOTION
                                                   FOR SUMMARY JUDGMENT
15   v.                                            RE: STATUTE OF LIMITATION
16   BOARD OF TRUSTEES FOR THE
     CARPENTERS SOUTHWEST
17   TRUSTSA erroneously sued as BOARD
     OF TRU~TEES FOR THE
18   SOUTHWEST CARPENTER'S
     SOUTHWEST TRUST; et al
19                        Defendants.
20     ARPENTER         UTHWE T
     ADMINISTRATIVE CORPORATION
21   a California non-profit corporation; et ai

22                        Plaintiffs,

23   v.
     H K B Inc., et al
24
                          Defendants.
25
26   Ill
27   Ill
28   Ill
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 1                                   I. INTRODUCTION
 2         The Court should deny the motion for summary judgment. Plaintiff premises
 3 its motion upon the incorrect assumption that A.R.S. § 12-541, Arizona's one-year
 4 statute of limitations for certain employment disputes applies to this case. It does

 5 not.
 6         In reaching its flawed conclusion, Plaintiff totally ignores a series of Ninth
 7 Circuit decisions, as well as numerous other Circuit precedents. These decisions
 8 demonstrate that, with respect to ERISA collections cases, Arizona's six-year
 9 limitations period for breach of contract claims set forth in A.R.S. § 12-548(A)(1)
10 governs. See e.g. Hawaii Carpenters Trust Funds v. Waiola Carpenter Shop, Inc.,
11 823 F.2d 289,298 (9th Cir. 1987) (Hawaii's six-year statute of limitations applies);

12 Trustees for Alaska Laborers-Constr. Indus. Health & Sec. Fund v. Ferrell, 812
13 F.2d 512, 517 (9th Cir. 1987) (Alaska's six-year statute of limitations applies). See
14 also, e.g., Operating Eng'rs Local 324 Health Care Plan v. G&W Constr. Co., 783
15 F.3d 1045, 1054 (6th Cir. 2015)("Michigan's six-year statute of limitations for
16 contract actions applies to the Funds' collection suit."); Robbins v. Iowa Rd.
17 Builders Co., 828 F.2d 1348, 1355 (8th Cir. 1987)(1owa's ten-year statute of
18 limitations for actions for breach of written contracts applies).
19         Alternatively, even applying Arizona's one-year statute of limitations,
2 0 Plaintiffs Motion should be denied. This is because there are disputed facts and/or
21 necessary discovery that must be completed that preclude summary judgment at this
2 2 early stage of the case and the premature Motion precludes Defendants from raising
2 3 all available defenses.
24                      II. STATEMENT OF DISPUTED FACTS
25         By way of background, Defendant, BOARD OF TRUSTEES FOR THE
2 6 CARPENTERS SOUTHWEST TRUSTS, erroneously sued as BOARD OF
27   TRUSTEES FOR THE SOUTHWEST CARPENTER'S SOUTHWEST TRUSTS
2 8 ("Board") is the trustee of ERISA Trust Funds which exist pursuant to section 302

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 1 of the LMRA, 29 U.S.C. §186; the Trust Funds include pension, vacation, health
 2 and welfare, and training trust funds that benefit members of the Southwest
 3 Regional Council of Carpenters ("SWRCC"). Defendant CARPENTERS
 4 SOUTHWEST ADMINISTRATIVE CORPORATION ("CSAC") is a California
 5 non-profit corporation, which along with the Board, is an authorized agent to act on
 6 behalf of the Trust Funds with respect to delinquent employer contributions.
 7         H K B Inc., an Arizona corporation, doing business as SOUTHWEST
 8 INDUSTRIAL RIGGING ("Plaintiff') is a contractor that entered into a
 9 Memorandum Agreement ("Memorandum") on or about August 22, 2013 with the
10 SWRCC in order to obtain the services of craftsmen who fulfilled the SWRCC's
11 training programs. (Controverting Statement of Facts "CSF", ~14.) The
12 Memorandum binds Plaintiff to the terms of the Master Labor Agreements between
13 the United General Contractors Association, Inc. and the SWRCC, dated July 1,
14 2012 and the Arizona Builders' Alliance and the SWRCC, dated July 1, 2012. /d.
15 The Memorandum also binds Plaintiff to the terms of the Trust Fund agreements. !d.
16         One ofCSAC's responsibilities is to conduct audits of employers. (CSF, ~15.)
17 In the present case, CSAC audited the Plaintiffs documentation in an audit that
18 examined Plaintiffs compliance for the September 1, 2013 through December 31,
19 2014 period; the audit showed that, while Plaintiff agreed to be bound by the terms
2 0 of the Master Agreements as to all construction work of the types set forth in the
21 Master Agreements, Plaintiff reneged upon this agreement by employing non-union
2 2 employees to complete such work and failing to remit contributions to the Trust

23   Funds for the this work. (CSF, ~16.) 1   After CSAC's efforts to collect upon such
24
25         1
            At ~102.3, the Master Labor Agreement between the United General
2 6 Contractors Association, Inc. and the SWRCC, dated July I, 2012, provides, in
2 7 relevant part: "If and when the Employer shall perform any on-site construction
    work of the type covered by this Agreement ... the terms and conditions of this
2 8 Agreement shall be applicable to all such work on that job or project." Watanabe
                                               2
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 1 delinquent contributions proved fruitless, Defendants filed suit on October 28, 2016

 2   in the United States District Court for the Central District of California in order to
 3 collect upon the delinquent contributions.
 4         On November 2, 2016, Plaintiff filed this suit against Defendants. In the
 5 Complaint, Plaintiff alleges, inter alia, that its salesperson, Tom Allen, signed the
 6 Memorandum, despite lacking authority to execute such agreements for Plaintiff. 2
 7 In its initial motion for summary judgment, Plaintiff emphasized that it is not bound

 8 to the Memorandum due to Mr. Allen's claimed lack of authority. 3 In order to rebut

 9 this and other arguments, Defendants propounded discovery requests upon Plaintiff.
10 Shanley Decl'n, ,4, 5; Ex. 3. On March 15, 2017, Plaintiff withdrew its initial
11

12 Decl 'n, Ex. 1. Paragraphs 2001 through 2601 set forth the various trust funds and
   the Employer's responsibility to contribute to such funds. Watanabe Decl'n, Ex. 1.
13 Similarly, at ,,101.1 and 102, the Master Labor Agreement between the Arizona
14 Builders' Alliance and the SWRCC, dated July 1, 2012, set forth that this
   Agreement applies to all of the Contractors' employees performing construction
15 work and that all work performed must be rendered in accordance with the
16 Agreement' terms. Watanabe Decl 'n, Ex. 2. Articles 19 through 22 set forth the
   various trust funds and the Employer's responsibility to contribute to such funds.
17 Watanabe Decl'n, Ex. 2. Finally, each of the trust funds state that an '"employee"
18 means an employee who performs "work covered by any of the collective
   bargaining agreements." Health and Welfare Trust, Art. I, Section 3; Pension Trust,
19 Art. I, Section 3; Training Fund, Art. I, Section 13; Vacation Trust, Art. I, Section
20 3; Watanabe Decl'n, Ex. 3. Hence, regardless of whether the covered work was
   performed by union or non-union employees, the Plaintiff remains responsible to
21 contribute to the trust funds.
22          2
            The Central District of California case was transferred to this Court; the two
23   cases were consolidated on February 16, 2017 (Document Number: 29).
24
            3
25             The availability of contract defenses to trust fund collection actions is
     restricted, and the employer may only raise contract defenses that render the
26   collective bargaining agreement void rather than voidable. See Southwest Admrs.,
27   Inc. v. Rozay's Transfer, 791 F.2d 769,773-775 (9th Cir. 1986). Hence, despite
     Plaintiffs reliance on it, it is unlikely that this defense is available in the
28   circumstances of the present case.
                                                3
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 1 Motion for Summary Judgment and filed its Amended Motion for Summary
 2   Judgment. Although the Amended Motion for Summary Judgment differs from the
 3 initial Motion for Summary Judgment in that references to Mr. Allen's claimed lack
 4 of authority to execute agreements have been removed, Plaintiff still presents the
 5 same evidence to the Court on this issue by presenting the Declaration of James
 6   Douglas Wilson as Plaintiffs Exhibit 1. Also, Plaintiff argues that Defendants'
 7   demands are based upon an incorrect interpretation of the Memorandum in that
 8 Defendants seek payment based upon services performed by Plaintiffs non-union

 9 employees. As described in greater detail below, in that the Amended Motion still
10   presents this evidence, Defendants still need discovery pursuant to FRCP 56(d).
11         In that Plaintiff references Mr. Allen's claimed lack of authority to execute
12 agreements through the Wilson Declaration, Defendants, given the currently
13 available evidence, represent that Mr. Allen met with a SWRCC representative on
14 multiple occasions at Plaintiffs offices, represented that he was Manager of
15 Construction (or held a similar title) and that he had authority to bind Plaintiff to the
16 Memorandum. (CSF, ~17.) Also, either around the time of the execution of the
17 Memorandum or within a few months thereafter, a SWRCC representative met with
18 Ms. Ornelas, the Plaintiffs Human Resources Manager, who did not raise any
19 concerns regarding the formation of this agreement, but merely requested some
2 0 details regarding benefit payments. (CSF, ~18.) Further, Plaintiff demonstrated its

21   intention to be bound by the agreement by utilizing SWRCC workers, filing
22   monthly reports and providing them to the Defendants from September 2013 to the
2 3 middle of 20 16;4 Plaintiff made payments pursuant to the terms of the Agreements
24
25          4
              In relevant part, these forms indicate that "[b]y submitting this report, the
26   undersigned certifies that all compensated hours paid to carpenter employees
27   employed by the undersigned ... are reported herein; that all contributions required
     have been paid for any person working with tools of the trade ... that the
28   undersigned is bound by all payments reported herein are made under and pursuant
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 1 for months where the Plaintiff used the services of SWRCC workers. (CSF, ~19.)
 2   Plaintiff provided Defendants with an executed "Declaration on Company Status -
 3 C4A Program" form. (CSF, ~20.) In that Plaintiff claims that it is not bound, since
 4 Mr. Allen lacked authority to execute agreements, it is noteworthy that the
 5 "Declaration on Company Status - C4A Program" form was signed by Human
 6 Resources Manager Ornelas less than two months after the Memorandum was
 7 executed. See Watanabe Decl'n, Ex. 5. It was only after Defendants' counsel sent a
 8   demand letter to Plaintiffs counsel that Plaintiffs counsel, for the first time,
 9 asserted that Plaintiffs "former sales representative, Tom Allen, may have signed a
10 document ... Mr. Allen did not have actual, implied or apparent authority to bind
11 Southwest Industrial Rigging ... " (CSF, ~21.)

12         In sum: 1) The Defendants brought their action well with the applicable
13 statute of limitations; 2) Plaintiffs claims that the Defendants wrongly interpreted
14 the Memorandum to require Plaintiff to pay for work performed by Plaintiffs
15 non-union employees are without merit. Pursuant to the collective bargaining
16 agreements, Plaintiff must contribute to the trust funds for any covered work; 3)
17   Likewise without merit is Plaintiffs claim that it is not bound by the Memorandum.
18                                     III. ARGUMENT
19         A. MOTION FOR SUMMARY JUDGMENT STANDARDS
20         "Summary judgment is inappropriate if reasonable jurors, drawing all
21 inferences in favor of the nonmoving party, could return a verdict in the nonmoving
22   party's favor." Diaz v. Eagle Produce Ltd. P'ship, 521 F.3d 1201, 1207 (9th Cir.
2 3 2008), citing United States v. Shumway, 199 F.3d 1093, 1103-04 (9th Cir. 1999).
24
25
     to the appropriate written agreements applicable to the Trust Funds ... By this
26   payment to the Carpenters Trust Funds, it is understood and acknowledged that the
27   undersigned is signatory and bound to a current collective bargaining agreement
     with the Carpenters Union providing for each trust fund payment ... " Watanabe
28   Decl 'n, Ex. 4, Southwest Carpenters Trust, Employers Monthly Report To Trustees.
                                                5
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 1 "[T]he moving party has the initial burden of establishing the absence of a genuine

 2   issue of fact on each issue material to its case." C.A.R. Transp. Brokerage Co. v.
 3   Darden Rests., Inc., 213 F.3d 474,480 (9th Cir. 2000). If the moving party fails to
 4 meet its initial burden, summary judgment must be denied and the court need not
 5   consider the nonmoving party's evidence. Adickes v. S.H. Kress & Co., 398 U.S.
 6   144, 159-60, 90 S. Ct. 1598, 26 L. Ed. 2d 142 ( 1970).
 7          If the moving party satisfies its initial burden, the burden then shifts to the
 8 opposing party to establish that a genuine issue of material fact exists. See
 9 Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586, 106 S. Ct.
10   1348, 89 L. Ed. 2d 538 (1986). To establish the existence of a factual dispute, the
11 opposing party must establish that "the claimed factual dispute be shown to require

12 a jury or judge to resolve the parties' differing versions of the truth at trial." T. W.
13 Elec. Serv., Inc. v. Pac. Elec. Contractors Ass 'n, 809 F .2d 626, 631 (9th Cir. 1987).
14         The evidence of the opposing party is "to be believed, and all justifiable
15 inferences are to be drawn in his favor." Anderson v. Liberty Lobby, Inc., 477 U.S.
16 242, 255, 106 S. Ct. 2505, 91 L. Ed. 2d 202 ( 1986).
17          B. THE SIX YEAR LIMITATIONS PERIOD FOR BREACH OF
18 CONTRACT CLAIMS APPLIES TO THE PRESENT CASE
19          1.    Application of a One-year Limitations Period Is Directly Contrary
20                to Ninth Circuit Precedent
21          "In actions for violations of§ 515 of ERISA, 29 U.S.C. § 1145, obligating
2 2 employers to contribute to their employee benefit plans, we have held that the forum
23   state's statute of limitations for breach of contract claims applies." Felton v.
24   Unisource Corp., 940 F.2d 503, 511 (9th Cir. 1991), citing N. Cal. Retail Clerks
25   Unions v. Jumbo Markets, Inc., 906 F.2d 1371, 1372 (9th Cir. 1990); Pierce County
26   Hotel Employees v. Elks Lodge, B.P.O.E. No. 1450, 827 F.2d 1324, 1328 (9th Cir.
27   1987); Hawaii Carpenters Trust Funds v. Waiola Carpenter Shop, Inc., 823 F.2d at
2 8 298; Trustees for Alaska Laborers-Constr. Indus. Health & Sec. Fund v. Ferrell,

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 1   812 F.2d 512, 517 (9th Cir. 1987). Arizona has a six year limitations period for
 2 breach of contract claims. A.R.S. § 12-548(A)( 1). Hence, the six year limitations
 3   period should be applied in the present case.
 4         In Hawaii Carpenters Trust Funds v. Waiola Carpenter Shop, Inc., 823 F.2d
 5 at 298, the Ninth Circuit provided a detailed analysis regarding the proper
 6 limitations period. In this decision, the court addressed the Hawaii District Court's

 7 decision imposing a one year statute of limitations in a collection action for
 8   employee benefit plans contributions:
 9         We recently held that state statutes of limitations governing claims for breach
           of contract are to be borrowed for ERISA collection actions, Ferrell, 812 F .2d
10         512, ...
11         In Ferrell, we applied an Alaska statute, holding:
12
                  The Trustees' claim can only be characterized as a
13                straightforward breach of contract claim. The Trustees
                  allege that Ferrell, as a successor employer, is bound by
14                the compliance agreement which he breached by failing to
                  make the reguired contributions. Accordingly, ... we
15                apP.lY the Alaska limitations period governing contract
                  actions.
16
           Ferrell, 812 F.2d at 517 (footnote omitted). The Alaska statute provided a six
17         y~ar period within which to commence suit. Id. at n.2. Similarly, the relevant
           Hawaii statute provides for a six year period. See Haw. Rev. Stat.§ 657-1(1).
18
           Here the trustees' claim is similar to that of the trustees in Ferrell and the
19         limitations period is identical. Accordingly, the Hawaii contract limitations
           period is applicable. We note especially tliat effectuation of federal policy is
20         not impeded by application of a six year statute of limitations. Congress has
           exP.ressed its clear desire 'to remove jurisdictional and procedural obstacles
21         wliich ... a_p_pear to ... hamper[] effective ... recovery_ of benefits due.' S.
           Rep. No. 127, 93d Cong., 1st Sess. reprinted in, 1974 U.S. Code Con_g. &
22         Admin. News 4838,4871. Cf. Dice v. Akron, C. & Y. R.R., 342 U.S. 359,96
           L. Ed. 398, 72 S. Ct. 312 ( 1952).
23
           Imposing too short a statute would interfere with the strong federal policy that
24         unoerlies ERISA. The federal government, or more specifically the Pension
25
           Benefit Guaranty Corporation, will ultimately be liable for the pa~ent of
           vested benefits if a pension plan is not adequately funded and terminates. In
           order to 'encourage the continuation and maintenance of volunta!)' private
26         pension plans for the benefit of their participants,' 29 U.S.C. § 1302(a)(1), we
27
           believe that employee trust funds should be given ample opportunity to
           recover delinquent contributions. We need not decide here what period of
28         time would be insufficient to protect federal interests since a six year period

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 1          clearly is adequate.
 2 !d.
 3          In the present case, like the statutes referred to in Ferrell and Hawaii
 4 Carpenters Trust Funds, A.R.S. § 12-548 provides a six year statute of limitation.
 5 The Hawaii Carpenters Trust Funds decision held that imposing a short statute,
 6   such as the one year statute used by the district court in that case, would have
 7 interfered with the federal policy that underlies ERISA. Plaintiffs argument that the
 8   one-year statute of limitations set forth in § 12-541 should be applied is directly
 9 contrary to the holding of Hawaii Carpenters Trust Funds and the lengthy series of
10 Ninth Circuit decisions (cited above) requiring application of the forum state's
11 statute of limitations for breach of contract actions.
12          The Ninth Circuit is not an outlier in reaching this conclusion. See, e.g.
13 Operating Eng'rs Local324 Health Care Plan v. G&W Constr. Co., 783 F.3d 1045,
14   1054 (6th Cir. 20 15)("Because ERISA does not provide a statute of limitations for
15 ERISA collection actions, we, like other circuits, apply the limitations period for the
16 state cause of action that is most analogous to the ERISA claim at issue. [Citations]
17   We apply the forum state's general limitations period for contract actions,
18   [Citations] and here, the parties agree that Michigan's six-year statute of limitations
19 for contract actions applies to the Funds' collection suit."); Trustees of Wyoming
20 Laborers Health & Welfare Plan v. Morgen & Oswood Constr. Co., 850 F.2d 613,
21 620 (1Oth Cir. 1988), overruled on other grounds by NLRB v. Viola
22 Industries-Elevator Div., Inc., 979 F.2d 1384 (lOth Cir. 1992)("We agree with the
23   Trustees' contention that the Wyoming ten-year statute of limitations for actions
2 4 based on written contract is applicable in this case."); Robbins v. Iowa Rd. Builders
25   Co., 828 F.2d 1348, 1355 (8th Cir. 1987)(We hold the state cause of action for
2 6 breach of written contracts, and the applicable statute of limitations, is most
27   analogous to trustee collection actions under ERISA. [Citations] Appellants' actions
28   are not barred under Iowa's ten-year statute of limitations for actions for breach of

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 1 written contracts."); Jenkins v. Local 705 International Brotherhood of Teamsters
 2 Pension Plan, 713 F.2d 247, 253-254 (7th Cir. 1983)("The court holds that the ...
 3 most analogous Illinois statute of limitations is the one for written contracts ....
 4 Appellant filed his civil complaint ... within the ten year Illinois statute of
 5 limitations for actions on a written contract.") Hence, the application of the A.R.S.
 6   § 12-548 six-year statute of limitation is consistent with numerous decisions from
 7 various Circuits.

 8         2.     Blood Sys. v. Roesler's Holding Is Inapposite to the Present Case
 9         In Blood Sys., an employee medical plan paid for an employee's spouse's
1 0 medical benefits after the spouse suffered injuries in a motor vehicle accident. Blood
11 Sys., 972 F. Supp. 2d at 1153. The employee and her spouse settled their claim
12 against the other driver and the plan brought a subrogation action against the
13 employee and her spouse. /d. The plan's subrogation claims against the employee
14 were, "in effect, claims for benefits." /d., 1154. As the "Ninth Circuit has already
15 ruled that the 'most analogous state statute of limitations' on claims for benefits is
16 the state statute of limitations for actions on a written contract", the court choose
17 between "Arizona's general six-year statute of limitations for written contracts[,]
18 A.R.S. § 12-548 [and] Arizona's one-year statute of limitations for certain
19 employment disputes[,] A.R.S. § 12-541." /d. The A.R.S. § 12-541 one-year
2 0 limitations period "applies only to actions ' [f]or breach of an oral or written
21 employment contract including contract actions based on employee handbooks or
22 policy manuals that do not specify a time period in which to bring an action.'" /d.,
23   1155, quoting A.R.S. § 12-541(3). "The Arizona Court of Appeals ... has
24   interpreted [A.R.S. § 12-541] as applying to almost all disputes between an
25   employer and employee." /d. (emphasis added.)
26         The court continued to analyze the issue of whether "an ERISA plan should
2 7 be viewed as an 'employment contract' ... [T]here can be no dispute that the
2 8 agreement between Blood Systems and the Roeslers regarding healthcare benefits

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 1   was a contract." /d. The court concluded that "claims regarding benefits under an
 2 ERISA plan qualifly] as claims under an 'employment contract.'" /d.
 3         The Blood Sys. court's analysis shows that the court applied A.R.S. § 12-541
 4 to the dispute between employer and employee under the employment contract. If
 5 the statute's words, "[t]or breach of an oral or written employment contract
 6 including contract actions based on employee handbooks or policy manuals ... " were
 7 ambiguous, as the court stated, this statute was applied to "disputes between an
 8 employer and employee." Blood Sys., 972 F. Supp. 2d at 1155. Hence, this statute
 9 does not apply to this dispute between the employer and the Board.
10         In addition, in Blood Sys., the court's analysis shows that the application of
11   the one year statute of limitations is inapplicable to the present case in that the court
12 included the following analysis:
13         Switching from the long-accepted limitations period of six-years to the
           one-year limitations penod might be viewed as harsh when applied to
14         the usual case of an Individual seeking to recover ERISA benefits. But
           the possible harshness of a one-year limitations period is significantly
15         mitigated by two underlying_ aspects of the law applicable to most
           ERISA claims for benefits. First, the possibility of contractual
16         limitations periods. And second, the special accrual rule for ERISA
           claims.
17
18         The second reason the Court believes the one-year limitations period is
           acce:Rtable is the special accrual rule applicable to most claims for
19         benefits. A claim for benefits usually requires administrative
           exhaustion .... Therefore, individuals wfio file suits seeking benefits
20         will have already gathered their evidence, presented their arguments,
           and gone through an entire administrative process. Requiring an
21         individual file tier suit within one year of that administrative process
           ending is reasonable.
22
     Blood Sys. v. Roesler, 972 F. Supp. 2d at 1156-57.
23
           In the circumstances of the present case, there has been no administrative
24
     process and the Defendants have not "already gathered their evidence [and]
25
     presented their arguments". /d., 1157. Accordingly, in addition to the fact that the
26
     Blood Sys. court specifically referred to a "case of an individual seeking to recover
27
     ERISA benefits", id., the absence of an administrative process shows the holding is
28

                                                10
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 1   not applicable to the circumstances of the present case. 5
 2         It is noteworthy that, consistent with the interference with the federal policy
 3 underlying ERISA that the imposition of a short statute of limitation would cause
 4 (as recognized by the Ninth Circuit in Hawaii Carpenters Trust Funds), no
 5 decisions can be found that apply a one-year statute of limitation to an ERISA trust
 6 fund collection action.

 7         C. GENUINE ISSUES OF MATERIAL FACT EXIST REGARDING
 8 WHEN THE STATUTE OF LIMITATIONS BEGAN TO RUN

 9         In its Motion, Plaintiff sets forth a number of different theories addressing
1 0 when the claim accrued and the statute of limitations began to run. Motion, pp. 4-9.
11 Defendants have shown above that the applicable statute of limitations is actually
12 six years. This longer statute of limitations renders determining the time when the
13 claim accrued moot. However, in the event that the Court is inclined to agree with
14 Plaintiff that a shorter statute of limitations applies, the Court still ought to deny
15 Plaintiffs Motion, because genuine issues of material fact exist regarding when the
16 statute of limitations began to run.
17         In general, federal law determines when a federal cause of action accrues,
18
            5
19
                Plaintiffs argument that Blood Sys. requires the conclusion that A.R.S. §
     12-541 governs the present case is contrary to the holding of Felton v. Unisource
20   Corp., 940 F.2d at 511; in Felton, the court stated that in ERISA § 515 actions
21   seeking to require employers to contribute to their employee benefit plans, the
     forum state's statute of limitations for breach of contract claims was applicable. !d.
22   In prior cases of this type, the court observed that the applicable forum states'
23   statutes of limitations were six years. !d. However, in Felton, the court addressed
     an action brought under § 510 of ERISA, which prohibits discrimination against
24   plan participants for exercising their rights under the plan. !d., 509. Hence, the
25   court decided that "the Arizona statute of limitations for wrongful termination
     claims governs the Feltons' action," and applied a two-year statute of limitations,
26   id., 512, showing that different ERISA actions require the application of different
27   statutes of limitations. Accordingly, Plaintiffs assertion that the Blood Sys. court's
     application of a one-year statute of limitations to a claim for plan benefits requires
28   application of the same statute of limitations to all ERISA cases is incorrect.
                                               11
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 1 despite the fact that state law determines the relevant statute of limitations.
 2   Williams v. UNUM Life Ins. Co. ofAm., 113 F .3d 1108, 1111 (9th Cir. 1997).
 3   ERISA actions are federal; thus, courts apply federal law to determine when the
 4 cause of action accrued. Jumbo Markets, Inc., 906 F.2d at 1372. Under federal law,
 5   the statute of limitations begins to run when a plaintiff knows or has reason to know
 6   of the injury that is the basis of the action. /d. When the statute of limitations
 7   begins to run turns on what a reasonable person should have known, and is a mixed
 8 question of law and fact. Rose v. United States, 905 F.2d 1257, 1259 (9th Cir.

 9   1990).
10            In Dirs. of the Motion Picture Indus. Pension Plan v. Nu Image Inc., 2014
11 U.S. Dist. LEXIS 159850, *23-24 (C.D. Cal. 2014), the court reviewed defendant's
12 motion for summary judgment; defendant contended that plaintiffs should have been
13 aware of underpayments when the defendant issued paychecks. /d. Plaintiffs
14 argued "that absent a payroll audit of the Nu Image films subject to payroll
15 contributions, plaintiffs could not have been aware of Nu Image's allegedly deficient
16 payments." /d., *24. Accordingly, the Court found "a genuine issue of material fact
17 regarding when the statute of limitations began to run on plaintiffs' payroll
18   contribution claims." /d. See also, Locals 302 & 612 of the Int'l Union of
19 Operating Engr's Constr. Indus. Health & Sec. Fund v. Meko Constr., Inc., 2012
20 U.S. Dist. LEXIS 125388, *8 (W.D. Wash. Sept. 4, 2012)(1t was possible that the
21 trust funds' cause of action accrued more than six years before the trust funds filed
2 2 suit in July 20 11; it was also possible that the trust funds had no reason to know of
23   the delinquency until six years before the trust funds filed suit. "The court cannot
2 4 make this determination as a matter of law"); Trs. of the Plumbers v. All Seasons
25 Interior & Exterior Maint., Inc., 2015 U.S. Dist. LEXIS 13942, *10-12 (D. Nev.
26   Feb. 3, 20 15)(Cessation of reporting and late and smaller payments could have put
2 7 plaintiffs on notice that defendant was not fulfilling its obligations under the CBA,
2 8 but the court could not make that determination as a matter of law); Trs. of the

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 1   Operating Eng'rs Pension Trust v. Smith-Emery Co., 906 F. Supp. 2d 1043, 1060
 2   (C.D. Cal. 2012), rev'd on other grounds, 645 Fed. Appx. 581 (9th Cir. Cal. 2016)
 3   (court was unable to determine when the trusts knew or had reason to know of the
 4 underpayment; therefore, summary judgment was not appropriate as to whether any
 5 claims made in trusts' audit were time-barred).
 6         The case law cited above shows that this is a matter that cannot ordinarily be
 7 determined as a matter of law, and is therefore not appropriate for summary
 8 adjudication. In the present case, the audit was initiated pursuant to CSAC's policy
 9   to conduct an audit one year after an employer enters into an agreement with
10 SWRCC. (CSF, ~22.) Consistent with this, Plaintiff has not pointed to a specific
11 event, such as the underpayments in Nu Image Inc. or the cessation of reporting and

12 late and smaller payments in Trs. of the Plumbers, that might have put Defendants
13 on notice that Plaintiff was not fulfilling its obligations to make payments for work
14 covered by the agreements that Plaintiff had entered into. Hence, genuine issues of
15 material fact exist regarding when the statute of limitations began to run.
16         D. PURSUANT TO FRCP 56(D), THE COURT SHOULD EITHER
17 DEFER CONSIDERING THE MOTION OR DENY IT
18         Plaintiff has filed its Motion prior to the conference required by Rule 26(t). No
19 discovery has been exchanged between the parties. Defendants served Plaintiff with
2 0 discovery requests on March 6, 2017. Shanley Decl'n, ~4, 5; Ex. 3.
21         "Federal Rule of Civil Procedure 56[(d)] provides a device for litigants to
22   avoid summary judgment when they have not had sufficient time to develop
2 3 affirmative evidence." Burlington N. Santa Fe R.R. v. Assiniboine & Sioux Tribes of

24   the Fort Peck Reservation, 323 F.3d 767, 774 (9th Cir. 2003), quoting United States
25   v. Kitsap Physicians Serv., 314 F.3d 995, 1000 (9th Cir. 2002). "Although Rule
2 6 56[(d)] facially gives judges the discretion to disallow discovery when the
27   non-moving party cannot yet submit evidence supporting its opposition, the
2 8 Supreme Court has restated the rule as requiring, rather than merely permitting,

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 1 discovery 'where the nonmoving party has not had the opportunity to discover

. 2 information that is essential to its opposition.'" Metabolife Int'l v. Wornick, 264
 3 F .3d 832, 846 (9th Cir. 2001 ), quoting Anderson v. Liberty Lobby, Inc., 477 U.S.
 4 242, 250 n.5, 91 L. Ed. 2d 202, 106 S. Ct. 2505 ( 1986).
 5         "[W]here ... no discovery whatsoever has taken place, the party making a
 6   Rule 56[(d)] motion cannot be expected to frame its motion with great specificity as
 7   to the kind of discovery likely to turn up useful information, as the ground for such
 8   specificity has not yet been laid." Burlington N. Santa Fe R.R. v. Assiniboine &
 9   Sioux Tribes of the Fort Peck Reservation, 323 F.3d at 774.
1o         In its Motion, Plaintiff presents the Declaration of James Douglas
11   Wilson. Inter alia, this Declaration provides the court with alleged details of
12 discussions between Plaintiffs employee, Tom Allen, and his supervisors. /d., ~~
13 6-8, 13.    Defendants attach hereto discovery requests that request detailed
14   information about Tom Allen, his supervisors and their discussions. Shanley
15 Decl 'n, Ex. 3. Paragraph 9 of the Declaration addresses Plaintiffs claimed
16 inability to access labor agreements. Defendants' discovery requests seek Plaintiffs
17   agreements with labor organizations, collective bargaining agreements, documents
18 evidencing communications about the Memoranda, documents evidencing
19 Plaintiffs "discovery" of the Memoranda and communications concerning the
2 o allegations set forth in the Complaint. Plaintiffs SSF 1 through 3, Wilson

21   Declaration~~   3-5 address Plaintiffs use ofSWRCC workers to complete
22   temporary work at a power plant and it's payment for the services of these workers.
2 3 Defendants' discovery requests seek Plaintiffs communications concerning the
2 4 allegations set forth in the Complaint, which would include its communications
25   regarding these matters.
26         The Wilson Declaration shows that Tom Allen is a critical witness. Mr. Allen
27   will need to be deposed. Defendants have researched his contact information,
2 8 including checking Lexis, multiple state contractors' license boards and Secretary of

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 1   State databases and Defendants' database, but could not obtain the contact
 2   information. Shanley Decl 'n, ~6. Plaintiff would have the last address for Mr.
 3 Allen, which would provide the Defendants with the ability to find and depose him.
 4   This is another item that Defendants have requested in the outstanding discovery
 5 requests.
 6         The Plaintiff has presented the Court with a wide range of matters that are
 7   solely within its only its possession and scope of knowledge. As the Ninth Circuit
 8 held in Burlington N. Santa Fe R.R., where no discovery has taken place, the party
 9 opposing summary judgment "cannot be expected to frame its motion with great

1 o specificity as to the kind of discovery likely to tum up useful information, as the

11   ground for such specificity has not yet been laid." Burlington N. Santa Fe R.R., 323
12 F.3d at 774. Hence, Defendants have made discovery requests, but are currently in
13 the position of lacking full knowledge as to what specific requests will provide
14 useful information. Nonetheless, pursuant to Burlington N. Santa Fe R.R., the court
15 ought to defer considering the Motion or deny it in order to permit Defendants to
16 obtain and analyze the needed information through discovery.
17         E. THE MOTION IS PREMATURE
18         Defendants have moved to dismiss or, in the alternative, to stay this action.
19 (Document Number: 19). This motion is pending before the Court; hence, the
2 o Defendants have not filed an answer.

21         Despite the fact that the pleadings have not yet closed, Plaintiff has moved for
22   summary judgment based upon the statute of limitations. If Defendants had an
2 3 opportunity to answer the Plaintiffs complaint, Defendants could have filed

2 4 affirmative defenses relevant to the statute of limitations, such as equitable tolling.
2 5 Failure to plead a tolling defense waives such a defense and prevents the proponent
2 6 of the defense from first raising it when defending against a dispositive motion.
27   Grimmett v. Brown, 75 F.3d 506,514 (9th Cir. 1996). See also, 389 Orange St.
2 8 Partners v. Arnold, 179 F.3d 656, 662-63 (9th Cir. 1999)(Summary judgment

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 1 affirmed where plaintiff failed to allege fraudulent activity that would have tolled
 2   the statute of limitations.) In the present case, the Defendants have not had an
 3   opportunity to answer the complaint, and therefore are precluded from raising all
 4 defenses relevant to the statute of limitations. Hence, the Court should deny the
 5 Motion in order that the Defendants have an opportunity to answer the Complaint
 6 and allege all relevant defenses.
 7                                      III. CONCLUSION
 8            The Plaintiffs Motion should be denied. As set forth above, the Ninth
 9   Circuit (and numerous other Circuits) have held that the applicable limitations
1 o period is the forum state's limitations period for breach of contract claims. In this

11 case, this is the six-year limitations period set forth in A.R.S. § 12-548(A)(l) that

12 must be applied. By filing their lawsuit on October 28, 2016, Defendants filed their
13 action well within the permitted six year period.
14            Even if a shorter statute of limitations was applicable, the Court still should
15 deny Plaintiffs Motion, because genuine issues of material fact exist regarding
16 when the statute of limitations began to run. As set forth above, numerous courts
17   have decided that the issue of when a trust fund could have become aware of an
18 employer's deficient payments presents a genuine issue of material fact. In this
19 case, this matter is likewise one that must be determined at trial.
2o            Plaintiff has filed its Motion prior to the conference required by Rule 26(£);
21 hence, no discovery has been exchanged between the parties. Accordingly,
2 2 pursuant to Rule 56(d), the court should defer considering the motion or deny it so
2 3 that the Defendants can conduct discovery. Likewise, the Motion has been filed

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 1 before the close of pleadings.   The Court should deny the Motion to give the
 2   Defendants an opportunity to answer the Complaint and allege all relevant defenses.

 3
 4 DATED: April13, 2017             DeCARLO & SHANLEY
                                    A Professional Corporation
 5
 6
                                    Thomas Davis
 7                                  Attom~ysfor Defendants CARPENTERS
                                    SOUTHWEST ADMINISTRATIVE
 8                                  CORPORATION and BOARD OF TRUSTEES
                                    FOR THE CARPENTERS SOUTHWEST TRUSTS
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                             CERTIFICATE OF SERVICE

                      (H K B, Inc., etc., v. Board of Trustees, etc.)
                     (USDC-Arizona Case No. 2:16-cv-03799DJH)


X   I hereby certify that on April 13, 2017, I electronically transmitted the attached
    document, DEFENDANTS' OPPOSITION TO PLAINTIFF'S AMENDED
    MOTION FOR SUMMARY JUDGMENT RE: STATUTE OF LIMITATION, to
    the Clerk's Office using the CM/ECF System for filing and transmittal of a Notice of
    Electronic Filing to the following CM/ECF registrants:

          James Edward Holland, Jr. - jholland@stinson.com,cbarajas@stinson.com
          Javier Torres - javier.torres@stinson.com,cynthia.fischer@stinson.com


                Executed on April13, 2017, at Los Angeles, California.


X   I declare that I am employed in the office of a member of the bar of this court at whose
    direction the service was made.




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